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                             UNITED STATES DISTRICT COURT
 7
                                EASTERN DISTRICT OF CALIFORNIA
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 9   BOARD OF TRUSTEES OF IBEW                              CASE NO. 1:11-cv-02048-LJO-SKO
     LOCAL UNION NO. 100 PENSION
10   TRUST FUND, et al.,
11                         Plaintiffs,                      ORDER TO FILE CONFIDENTIAL
                                                            SETTLEMENT CONFERENCE
12          v.                                              STATEMENT OR SHOW CAUSE
                                                            WHY SANCTIONS SHOULD NOT BE
13                                                          IMPOSED
     PORGES ENTERPRISES, INC. et al.,
14
15                         Defendants.
                                                 /
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17          On April 25, 2012, the Court issued a Scheduling Order. The Scheduling Order explicitly
18   instructed the parties as to the preparation of Confidential Settlement Conference Statements to be
19   submitted via email to the Court in advance of the December 4, 2012, settlement conference:
20          At least five (5) court days prior to the Settlement Conference the parties shall
            submit, directly to Judge Oberto's chambers by e-mail to
21          SKOorders@caed.uscourts.gov, a Confidential Settlement Conference Statement.
22   (Doc. 15, 6:14-16.)
23          Additionally, on November 6, 2012, the Court issued an Order re Settlement Conference.
24   (Doc. 16.) The November 6, 2012, order reiterated that the parties were to provide a Confidential
25   Settlement Conference Statement to the Court no later than five (5) business days before the
26   Settlement Conference. (Doc. 16, 2, 1:25-2:2.) As the Settlement Conference is set for Tuesday,
27   December 4, 2012, the parties' Confidential Settlement Conference Statements were to be provided
28   to the Court via email no later than November 27, 2012. Defendants failed to timely submit their
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 1   Confidential Settlement Conference Statement.
 2            Accordingly, it is ORDERED that, no later than 12:00 p.m. noon on November 29, 2012,
 3   Defendants      email   their    Confidential       Settlement   Conference      Statement     to
 4   SKOorders@caed.uscourts.gov or show cause why the Court should not impose sanctions under
 5   Local Rule 110 for failing to comply with the April 25, 2012, and November 6, 2012, orders of this
 6   Court.
 7
 8   IT IS SO ORDERED.
 9   Dated:      November 28, 2012                    /s/ Sheila K. Oberto
     ie14hj                                   UNITED STATES MAGISTRATE JUDGE
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